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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )         8:06CR288
                                             )
             Plaintiff,                      )
                                             )         ORDER
v.                                           )
                                             )
DENISE GARVIN,                               )
                                             )
             Defendant.                      )




       Before the court is defendant’s Motion to Continue [79] the change of plea hearing.
Good cause being shown, the motion will be granted and the change of plea hearing will
be rescheduled.

      IT IS ORDERED:

      1.     The defendant’s Motion to Continue [79] is granted; and

      2.     That the Change of Plea hearing is continued to January 4, 2007 at 3:00
p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

       For this defendant, the time between December 4, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 5th day of December, 2006.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
